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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

IN RE:                                            §           CASE NO. 15-35165-H2-13
                                                  §
DAVID BRADLEY VAUGHN and                          §
MISTY DAWN VAUGHN,                                §
                                                  §
                                                  §
DEBTORS                                           §           CHAPTER 13


    Trustee’s Objection to Notice of Post-Petition Mortgage Fees, Expenses,
                 and Charges Filed by U.S. Bank Trust, N.A.
                                           (Docket #111)

THIS IS AN OBJECTION TO YOUR CLAIM. THE OBJECTING PARTY IS ASKING THE
COURT TO DISALLOW THE CLAIM THAT YOU FILED IN THIS BANKRUPTCY CASE.
YOU SHOULD IMMEDIATELY CONTACT THE OBJECTING PARTY TO RESOLVE THE
DISPUTE. IF YOU DO NOT REACH AN AGREEMENT, YOU MUST FILE A RESPONSE
TO THIS OBJECTION AND SEND A COPY OF YOUR RESPONSE TO THE OBJECTING
PARTY WITHIN 30 DAYS AFTER THE OBJECTION WAS SERVED ON YOU. YOUR
RESPONSE MUST STATE WHY THE OBJECTION IS NOT VALID. IF YOU DO NOT
FILE A RESPONSE WITHIN 30 DAYS AFTER THE OBJECTION WAS SERVED ON YOU,
YOUR CLAIM MAY BE DISALLOWED.

THERE WILL BE A HEARING ON THIS MOTION ON MAY 22, 2019 AT 10:00 A.M. IN
COURTROOM 400, 515 RUSK, HOUSTON, TX 77002.

            William E. Heitkamp, Chapter 13 Trustee, objects to the Notice of Postpetition
Mortgage Fees, Expenses, and Charges filed by U.S. Bank Trust, N.A. (Docket #111) in the
above captioned case, and would show the Court as follows:

       1.       The notice filed on April 4, 2019, appears to state a claim for postpetition charges,
claimed to be secured by a lien on the debtors’ principal residence in the amount of $6,873.65 for
Tax Advances (non-escrow).
       2.       The notice appears to be filed pursuant to Rule 3002.1 of the Federal Rules of
Bankruptcy Procedure as a supplement to amended claim #7 filed March 24, 2016.
       3.       Trustee asserts that the charges itemized on the “notice” are not proper pursuant
to Bankruptcy Rule 3002.1, because Rule 3002.1(a) states it applies to claims for which the plan
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provides that either the trustee or the debtor will make contractual payments. Trustee has raised
the same objection in other courts. As a result, Courts have ruled that a Rule 3002.1 “notice” of
post-petition mortgage fees, expenses and charges is not allowed if the debtor’s plan does not
provide for contractual installment payments.1
        4.       The only secured claim of U.S. Bank Trust, N.A. is treated under the plan under
Section 1325(a)(5) as a total debt claim for which Trustee is not making contractual installment
payments.


        Therefore Trustee prays that the claim be disallowed as a claim for purposes of receiving
disbursements from the trustee under the existing confirmed chapter 13 plan.

Dated: April 17, 2019



                                                                      RESPECTFULLY SUBMITTED,

                                                                      /s/William E. Heitkamp
                                                                      William E. Heitkamp, Trustee
                                                                      Admissions Id. No. 3857
                                                                      Kenneth P. Thomas, Staff Attorney
                                                                      Admissions Id. No. 1347
                                                                      Tiffany D. Castro, Staff Attorney
                                                                      Admission Id. No. 1419995
                                                                      Yvonne V. Valdez, Staff Attorney
                                                                      Admissions Id. No. 1129795
                                                                      9821 Katy Freeway, Suite 590
                                                                      Houston, Texas 77024
                                                                      (713) 722-1200 Telephone
                                                                      (713) 722-1211 Facsimile




1
  In re Jimenez, Case No. 18-30884, ECF No. 77 (Bankr. S.D. Tex., Dec. 3, 2018); See also In re Flores, Case No.
17-50063, ECF No. 55 (Bankr. S.D. Tex., Aug. 16, 2017); See also In re Bexley, Case No. 15-30296, ECF No. 56
(Bankr. S.D. Tex., Nov. 26, 2018). 
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                                      Certificate of Service

        A copy of this Objection has been served on the parties shown below via
 electronic means as listed on the Court’s ECF Noticing System or by prepaid first class U.S.
 Mail or certified mail return receipt requested at the addresses reflected below, on the 17th day
 of April 2019.


Dated: 4/17/2019


U.S. Bank Trust N.A., as Trustee of
Bungalow Series F Trust
c/o BSI Financial Services
1425 Greenway Drive, Ste 400
Irving, TX 75038

U.S. Bank Trust N.A., as Trustee of
Bungalow Series F Trust
Anderson Vela, L.L.P.
4920 Westport Drive
The Colony, Texas 75056

BSI Financial Services
1425 Greenway Drive, Ste 400
Irving, TX 75038

David Bradley Vaughn
Misty Dawn Vaughn
13103 Labelle Ln.
Houston, TX 77015

Azwar-Radi M. Rashid
Rashid Law Firm
P.O. Box 61212
Houston, TX 77208




                                                               /s/ William E. Heitkamp
                                                               William E. Heitkamp, Trustee
